Case 0:11-cv-61313-DLG Document 12 Entered on FLSD Docket 09/30/2011 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          FORT LAUDERDALE DIVISION

                   Case No. 11-61313-CIV-GRAHAM/GOODMAN


  ACCESS FOR THE DISABLED, INC.,
  ROBERT COHEN, and PATRICIA
  KENNEDY,


        Plaintiffs,

  vs.

  BAGEL MARKET, INC.,

        Defendant.
                                                    /

                              ORDER OF DISMISSAL

        THIS CAUSE came before the Court upon Plaintiffs’ Motion to

  Approve Settlement and to Dismiss with Prejudice [D.E. 10]. The

  Parties have now reached a settlement and request that this Court

  dismiss the case with prejudice. According, based on the foregoing,

  it is:

        ORDERED AND ADJUDGED that the Plaintiffs’ Motion to Approve

  Settlement and to Dismiss with Prejudice [D.E. 10] is GRANTED.

  Plaintiffs’ cause of action is DISMISSED WITH PREJUDICE. This case

  is now CLOSED. All pending motions not otherwise ruled upon are

  DENIED AS MOOT. It is further

        ORDERED AND ADJUDGED that the Court shall retain jurisdiction

  for   sixty   (60)   days   to   enforce   the   terms   of   any   settlement

  agreement.
Case 0:11-cv-61313-DLG Document 12 Entered on FLSD Docket 09/30/2011 Page 2 of 2




        DONE AND ORDERED in Chambers at Miami, Florida, this 29th day

  of September, 2011.

                                           s/Donald L. Graham
                                           DONALD L. GRAHAM
                                           UNITED STATES DISTRICT JUDGE

  cc:   All Counsel of Record




                                       2
